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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JUANA CRUZ, ET AL.,
                                                  §
                                                  §
                       Plaintiffs,                §
                                                  §
v.                                                §       CASE NO.: 7:23-CV-00343
                                                  §
Delgar Foods, LLC,                                §
                                                  §
                       Defendant.                 §
        Declaration of Lorena D. Valle in Support of Motion for Summary Judgment


        I, Lorena D. Valle, declare as follows:

        1.     "I am an attorney with the law firm of Porter Hedges LLP and am counsel of record
for Delgar Foods, LLC d/b/a Delia's in the above-captioned matter. I am over the age of 18 and
fully competent to make this declaration. I have personal knowledge of the facts stated herein.
They are true and correct.

       2.      Attached hereto as Exhibit A-1 is a true and correct copy of excerpts from the
deposition of Plaintiff Olga Perez dated June 26, 2024.

       3.      Attached hereto as Exhibit A-2 is a true and correct copy of excerpts from the
deposition of Plaintiff Armando Morales de Llano dated June 26, 2024.

       4.      Attached hereto as Exhibit A-3 is a true and correct copy of excerpts from the
deposition of Plaintiff Elias Gutierrez dated June 28, 2024.

       5.      Attached hereto as Exhibit A-4 is a true and correct copy of excerpts from the
deposition of Plaintiff Luis Zuniga dated June 28, 2024.

       6.      Attached hereto as Exhibit A-5 is a true and correct copy of excerpts from the
deposition of Plaintiff Miguel Caballero dated June 26, 2024.

       7.      Attached hereto as Exhibit A-6 is a true and correct copy of excerpts from the
deposition of Rosendo Lievanos dated June 28, 2024.

       8.      Attached hereto as Exhibit A-7 is a true and correct copy of Plaintiffs' WhatsApp
Group `Asunto's Delia's message transcript produced by Plaintiff Armando Morales on June 26,
2024, in accordance with this Court's Order entered on June 26, 2024.

                                                                             EXHIBIT
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       9.      Attached hereto as Exhibit A-8 is a true and correct copy of Plaintiffs' declarations.

       10.     Attached hereto as Exhibit A-9 is a true and correct copy of Plaintiffs' answers to
Delia's requests for admission.

        11.     Attached hereto as Exhibit A-10 is a true and correct copy of a sample week of
Plaintiffs' paystubs for December 30, 2020 and time sheets for the week of December 20 to 26,
2020.

       12.      These exhibits are true and correct copies of what they purport to be and were: (1)
produced by Plaintiffs in response to Defendant's requests for production; (ii) used as exhibits in
depositions taken in this lawsuit; or (iii) exchanged between Plaintiffs and Defendant during the
court of this lawsuit."

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set forther in
the foregoing Declaration are true and corrects to the best of my knowledge, information, and
belief.

Executed on October 18, 2024, in Harris County, Texas.




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